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AO 245B (Mod. 0/NJ 12/06) Sheet 1 • Judgment in a Ctiminat Case




                                                                  UNITED STATES DISTRICT COURT
                                                                     District of New Jersey


   UNITED STATES OF AMERICA

              V.                                                               CASE NUMBER    2:20-CR-00185-BRM-1
  WYZIER PETERSON

             Defendant.


                                                           JUDGMENT IN A CRIMINAL CASE
                                                (For Offenses Committed On or After November 1, 1987)


             The defendant, WYZIER PETERSON, was represented by LINWOOD ALLEN JONES.

             On motion of the United States, the court has dismissed the 3ro SUPERSEDING INDICTMENT.

The defendant pleaded guilty to count(s) 1 of the SUPERSEDING INFORMATION on 11/16/2022.                     Accordingly, the court
has adjudicated that the defendant is guilty of the following offense(s):

                                                                                                                    Count
  Title & Section                 Nature of Offense                                            Date of Offense      Number(s)

  21:841(a)(1) &                   Controlled substance-sell, distribute or                    06/30/2019           1ssss
  (b)(1 )(C)                       dispense.


       As pronounced on April 05, 2023, the defendant is sentenced as provided in pages 2 through 6 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

        It is ordered that the defendant must pay to the United States a special assessment of $100.00 for count(s) 1, which
shall be due immediately. Said special assessment shall be made payable to the Clerk, U.S. District Court.

        It is further ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any
material change in economic circumstances.

             Signed this 5th day of April, 2023.




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                       Imprisonment-
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                                                       IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of 150 months, on Count 1 of Superseding Information

         The Court makes the following recommendations to the Bureau of Prisons: a facility for service of this sentence
close to defendant’s home address

           The defendant will remain in custody pending service of sentence.




                                                          RETURN

           I have executed this Judgment as follows:




           Defendant        delivered
                                        on
                                                                      To
At                                                                         with a certified copy of this Judgment.



                                                                                    United States Marshal

                                                                               By




                                                                                    Deputy Marshal
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                                                     SUPERVISED RELEASE
           Upon release from imprisonment, you will be on supervised release for a term of 3 years.

         Within 72 hours of release from custody of the Bureau of Prisons, you must report in person to the Probation Office
in the district to which you are released.

         While on supervised release, you must not commit another federal, state, or local crime, must refrain from any
unlawful use of a controlled substance and must comply with the mandatory and standard conditions that have been adopted
by this court as set forth below.

         You must submit to one drug test within 15 days of commencement of supervised release and at least two tests
thereafter as determined by the probation officer.

           You must cooperate in the collection of DNA as directed by the probation officer

         If this judgment imposes a fine, special assessment, costs, or restitution obligation, it is a condition of supervised
release that you pay any such fine, assessments, costs! and restitution that remains unpaid at the commencement of the
term of supervised release.

           You must comply with the following special conditions:

           DRUG TESTING AND TREATMENT

           You must refrain from the illegal possession and use of drugs, including prescription medication not prescribed in
           your name, and must submit to urinalysis or other forms of testing to ensure compliance. It is further ordered that
           you must submit to evaluation and treatment, on an outpatient or inpatient basis, as approved by the U.S. Probation
           Office. You must abide by the rules of any program and must remain in treatment until satisfactorily discharged by
           the Court. You must alert all medical professionals of any prior substance abuse history, including any prior history
           of prescription drug abuse. The U.S. Probation Office will supervise your compliance with this condition.

           GANG/CRIMINAL ASSOCIATIONS PROHIBITION

           You must refrain from associating with, or being in the company of, any members of any street gang, outlaw
           motorcycle gang, traditional or non-traditional organized crime group, or any other identified threat group. You are
           restricted from frequenting any location where members of said organizations are known to congregate or meet.
           You must not have in your possession any item or paraphernalia which has any significance or is evidence of
           affiliation with said organizations.

           MENTAL HEALTH TREATMENT

           You must undergo treatment in a mental health program approved by the U.S. Probation Office until discharged by
           the Court. As necessary, said treatment may also encompass treatment for gambling, domestic violence and/or
           anger management, or sex offense-specific treatment, as approved by the U.S. Probation Office, until discharged
           by the Court. The U.S. Probation Office will supervise your compliance with this condition.


           CONSENT TO SEARCH

           You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. §
           1 030(e)(1 )), other electronic communications or data storage devices or media, or office, to a search conducted by
           a United States probation officer. Failure to submit to a search may be grounds for revocation of release. You must
           warn any other occupants that the premises may be subject to searches pursuant to this condition. The probation
           officer may conduct a search under this condition only when reasonable suspicion exists that you have violated a
           condition of supervision and that the areas to be searched contain evidence of this violation. Any search must be
           conducted at a reasonable time and in a reasonable manner.
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          LIFE SKILLS/EDUCATION

          As directed by the U.S. Probation Office, you must participate in and complete any educational, vocational, cognitive
          or any other enrichment programs offered by the U.S. Probation Office or any outside agency or establishment
          while under supervision.

          MOTOR VEHICLE COMPLIANCE

          You must not operate any motor vehicle without a valid driver’s license issued by the State of New Jersey, or in the
          state in which you are supervised. You must comply with all motor vehicle laws and ordinances and must report all
          motor vehicle infractions (including any court appearances) within 72 hours to the U.S. Probation Office.
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                                              STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
and condition.


1)   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
     of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
     within a different time frame.

2)   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
     how and when you must report to the probation officer, and you must report to the probation officer as instructed.

3) You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
   permission from the court or the probation officer.

4)   You must answer truthfully the questions asked by your probation officer.

5) You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
   living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
   change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
   the probation officer within 72 hours of becoming aware of a change or expected change.

6) You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
   probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
   view.

7)   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
     excuses you from doing so. If you do not have fulltime employment you must try to find full-time employment, unless
     the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
     (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
     change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
     circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
     change.

8)   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
     has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
     the permission of the probation officer.

9)   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e..
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
    person such as nunchakus or tasers).

11) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12) If the probation officer determines that you pose a risk to another person (including an organization), the probation
    officer may require you to notify the person about the risk and you must comply with that instruction. The probation
    officer may contact the person and confirm that you have notified the person about the risk.
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                                                 STANDARD CONDITIONS OF SUPERVISION
13) You must follow the instructions of the probation officer related to the conditions of supervision.




                                                        Forofficial Use OnIy---U.S Probation Off/ce

   Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision
or (2) extend the term of supervision and/or modify the conditions of supervision.

   These conditions have been read to me. I fully understand the conditions, and have been provided a copy of them.

   You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any of his
associate Probation Officers.

                                      (Signed)_______________________________________________________________________
                                                           Defendant                                  Date



                                                        U.S. Probation Officer/Designated Witness                   Date
